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                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
DAVID EVANS III, et al.,           )
                                   )
                                   )
                 PLAINTIFFS,       )
                                   )     Case No.: 20-CV-2453
     v.                            )
                                   )     Judge: Hon. Rebecca Pallmeyer
THOMAS J. DART, et al.,            )
                                   )
                 DEFENDANTS.       )


                Defendants Williams and McGee’s Unopposed Motion for an
                     Extension of Time to Answer or Otherwise Plead

       Now comes Defendants Ramon Williams (“Williams”) and Anthony McGee (“McGee”),

by and through their attorneys, and respectfully request that the Court extend Williams’’ time to

file his responsive pleading to the Second Amended Complaint (“SAC”) from June 26, 2020, until

July 10, 2020, and to extend McGee’s time to file his responsive pleading to the SAC from July 6,

2020, until July 10, 2020. In support thereof, Defendants state as follows:


       1.      On June 5, 2020, Plaintiffs served Defendant Williams with a copy of the SAC.

(Dkt#19) Pursuant to Federal Rule of Civil Procedures, Defendant Williams must answer or

otherwise plead by June 26, 2020.

       2.      On June 19, 2020, Plaintiffs served Defendant Anthony McGee with a copy of the

SAC, although as of the filing of this motion, the executed summons has not yet been filed with

the Court. Pursuant to Federal Rule of Civil Procedure, Defendant McGee must answer or

otherwise plead by July 6, 2020.

       3.      Counts IV and V of the SAC purport to state claims jointly against Defendant

Williams, who is the President of Teamsters Local 700, and against Defendant McGee, who is the
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Vice-President of Teamsters Local 700 based on actions taken in their official union capacities

with respect to Plaintiff David Evans, III.

         4.       The undersigned represents1 and has filed appearances on behalf of Defendants

Williams and McGee. (Dkt#24)

         5.       As the counts against both union Defendants are alleged jointly, and the purported

facts are interrelated, there will be substantial overlap in both Defendants’ responsive pleadings.

Accordingly, for the purpose of convenience and efficiency, and to account for the long Fourth of

July holiday, Defendant Williams and McGee requests that their time to answer or otherwise plead

be extended to July 10, 2020.

         6.       This is Defendant Williams and McGee’s first request for additional time, and it is

not made for the purposes of delay or to prejudice the Plaintiffs.

         7.       Counsel for Defendants Williams and McGee contacted counsel for the Plaintiffs

and counsel for Defendant Dart and Defendant Cook County and they have indicated they do not

object to this request.

                                                CONCLUSION


         Defendants Williams and McGee respectfully request that the Court extend their time to

file their responsive pleading to July 10, 2020.


                                                      Respectfully submitted,

                                                      /s/ Sherrie E. Voyles
                                                      Sherrie E. Voyles
                                                      Jacobs, Burns, Orlove & Hernandez



1
 While the SAC alleges that the actions taken by Defendants Williams and McGee were outside of their capacities
as union officials, the undersigned is representing both Defendants in their capacities as the officers of Teamsters
Local 700 and the defense has been authorized by Local 700’s Executive Board in accordance with Local 700’s
Bylaws.
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                             CERTIFICATE OF SERVICE

        I, Sherrie E. Voyles an attorney, certify that on June 26, 2020, the foregoing was
electronically filed with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the appropriate CM/ECF participants.



                                         /s/ Sherrie E. Voyles
                                            Sherrie E. Voyles
